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                                                                                              Flied: 6/21/2017 8:40 AM
                                                                                              Sharena Gilliland
                                                                                              District Clerk
                                                                                              Parker County, Texas
                                                   CV17-0772                                  Jessica Olson

                                CAUSE N O . - - - - - - - - - -

  YORAM AVNERI                                           §               IN THE DISTRICT COURT
                                                         §
                                                                             Parker County - 43rd District Court
                   Plaintiff                             §
                                                         §
  v.                                                     §                PARKER COUNTY, TEXAS
                                                         §
                                                         §
  HARTFORD FIRE INSURANCE                                §
  COMPANY                                                §                _ _ JUDICIAL DISTRICT
                                                         §



                      PLAINTIFF YORAM AVNERI'S ORIGINAL PETITION


  TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, Yoram Avneri, (hereinafter referred to as "Plaintiff'), complaining of Hartford

  Fire Insurance Company, (hereinafter referred to as "Defendant") and for cause of action would respectfully

  show unto this Honorable Court and Jury as follows:

                                     DISCOVERY CONTROL PLAN

  1. Plaintiff intends for discovery to be conducted under Level 2 of Texas Rule of Civil Procedure 190.3 and

       affirmatively pleads that this suit is not governed by the expedited-actions process of Texas Rule of Civil

       Procedure 169 because Plaintiff seeks monetary relief of over $100, 000. 00.


                                                    PARTIES

  2. Plaintiff is an individual residing in Parker County, Texas.

  3. Hartford Fire Insurance Company is a foreign insurance company engaging in the business of insurance

       in the State of Texas. Defendant may be served with process by serving its registered agent of service, C




  PlaintiffYoram Avneri's Original Petition
                                                                          --~~~!!111-
                                                                                    EXHIBIT
                                                                                                          .   Page I 1



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       T Corporation System, located at the following address: 1999 Bryan Street Suite 900, Dallas TX 75201 -


       3136.


                                                 JURISDICTION

  4.   The Court has jurisdiction over this cause of action because the amount in controversy is within the


       jurisdictional limits of the Court.


  5. The Court has jurisdiction over Defendant Hartford Fire Insurance Company because Defendant is a

       foreign insurance company that engages in the business of insurance in the State of Texas and Plaintiffs


       causes of action arise out of Defendant's business activities in the State of Texas. Specifically, Hartford


       Fire Insurance Company sought out and marketed for insurance in Texas and has "purposefully availed"


       itself of the privilege of conducting activities in Texas. Ke.fly v. General Interior Constr., lnc., 301 S.W.3d


       653, 660-61 (Tex. 2010).


                                                       VENUE
  6.   Venue is proper in Parker County, Texas, because the Property is situated in Parker County, Texas. TEX.


       CIV. PRAC. & REM. CODE § 15.032.


                                                       FACTS

  7.   Plaintiff purchased a policy from Defendant Hartford Fire Insurance Company, (hereinafter referred to as


       "the Policy"), which was in effect at the time of loss.


  8.   The Policy was purchased to insure Plaintiffs property, (hereinafter referred to as "the Property"), which


       is located at 2124-2132 Tin Top Road, Weatherford, Texas 76086.


  9.   Defendant Hartford Fire Insurance Company and/or its agent sold the Policy insuring the Property to


       Plaintiff.


  Plaintiff Yoram Avneri 's Original Petition                                                                Page   I2
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  10. Plaintiff is a "consumer" as defined under the Texas Deceptive Trade Practices Act ("DTPA") because it


      is an individual who sought or acquired by purchase or lease, goods or services, for commercial, personal


      or household use.


  11. On or about May 10, 2016, Plaintiff experienced a severe weather related event which caused substantial


      damage to the Property and surrounding homes and businesses in the area. The Property's damage


      constitutes a covered loss under the Policy issued by Defendant Hartford Fire Insurance Company.


      Plaintiff subsequently opened a claim on May 10, 2016 and Defendant Hartford Fire Insurance Company


      assigned an adjuster to adjust the claim.


  12. Thereafter, Defendant Hartford Fire Insurance Company wrongfully underpaid Plaintiffs claim and


      refused to issue a full and fair payment for the covered loss as was rightfully owed under the Policy.


  13. Defendant made numerous errors in estimating the value of Plaintiffs claim, as exhibited by its assigned

      adjuster's method of investigation and estimation of Plaintiffs loss, all of which were designed to


      intentionally minimize and underpay the loss incurred by Plaintiff. Defendant's assigned adjuster failed


      to fully quantify Plaintiffs covered losses, thus demonstrating that Defendant's assigned adjuster did not


      conduct a thorough investigation of Plaintiffs claim and/or intentionally adjusted Plaintiffs claim


      improperly.


  14. Specifically, Defendant, independently and through its assigned adjuster, intentionally and knowingly


      conducted a substandard investigation of the Property. This is evidenced by Defendant's assigned


      adjuster's· estimate, which failed to include all necessary items Plaintiff is entitled to under the Policy to


      place the Property in a pre-loss condition. These necessary items are covered and required under the



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     International Building Code and/or International Residential Code, as adopted by the State of Texas in

     2001.


  15. In addition, the Occupational Safety and Health Administration ("OSHA") dictates, when working on

     buildings with "unprotected sides and edges" that "each employee on a walking/working surface

      (horizontal and vertical surface) with an unprotected side or edge which is 6 feet (1.8m) or more above a

     lower level SHA i i be protected from falling by the use of guardrail systems, safety net systems, or

     personal fall arrest systems." Occupational Safety and Health Act of 1970 § 1926.501(b)(l) (emphasis

      added). This protection was intentionally not included or reflected within the scope of work provided by

      Defendant for Plaintiff's damages to the Property as an attempt to further deny Plaintiff benefits owed

      under the Policy.

  16. Defendant's initial investigation forced Plaintiff to bear its own cost and hire a contractor, Scope Ready,

      to create a proper estimate of the damages. Therefore, on or around February 20, 2017, Plaintiff's

      contractor inspected the Property. Following this inspection, Plaintiff's contractor estimated the damage

      to the Property to be $920,840.90 Based on the investigation, Plaintiffs contractor recommended the full

      removal and replacement of Plaintiff's roofmg system, including several items on the Property's roof,

      including but not limited to: all of the modified bitumen roofing material; removal and replacement of l"

      and 1 W' ISO board insulation; roof flashing; exhaust caps; as well as the Property's commercial air

      conditioning units.




  Plaintiff Yoram Avneri 's Original Petition                                                           Page I 4
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  17. Defendant's estimate did not allow for adequate funds to cover the cost of repairs and therefore grossly


      undervalued all of the damages sustained to the Property. As a result of Defendant's conduct, Plaintiffs


      claim was intentionally and knowingly underpaid.


  18. Defendant's assigned adjuster acted as an authorized agent of Defendant Hartford Fire Insurance


      Company. Defendant's assigned adjuster acted within the course and scope of their authority as authorized


      by Defendant Hartford Fire Insurance Company. Plaintiff relied on Defendant and Defendant's assigned


      adjuster to properly adjust the claim regarding the Property and to be issued payment to fix such damage,


      which did not happen and has not been rectified to date.


  19. Defendant Hartford Fire Insurance Company failed to perform its contractual duties to adequately


      compensate Plaintiff under the terms of the Policy. Specifically, Defendant refused to pay the full


      proceeds owed under the Policy. Due demand was made by Plaintiff for proceeds to be in an amount.


      sufficient to cover the damaged Property.


  20. Defendant and/or Defendant's assigned agent sold the Policy to Plaintiff, making various statements and


      representations to Plaintiff that the Property would be covered. Relying on the promises and


      representations made by Defendant and/or Defendant's assigned agent, Plaintiff filed a claim under the


      Policy with the belief that the Property would be covered after a severe weather event such as the one that


      damaged the Property.


  21. All conditions precedent to recovery under the Policy had, and have, been carried out and accomplished


      by Plaintiff.




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 22. As a result of Defendant's wrongful acts and omissions, Plaintiff was forced to retain the professional


     services of McClenny Moseley & Associates, PLLC, who is representing Plaintiff with respect to these


     causes of action.




                                                  AGENCY

 23. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


     paragraphs.


  24. All acts by Defendant Hartford Fire Insurance Company were undertaken and completed by its officers,


      agents, servants, employees, and/or representatives. All such acts were either done with the full


      authorization or ratification of Defendant Hartford Fire Insurance Company and/or were completed in its


      normal and routine course and scope of employment.


  25. Defendant and Defendant's assigned adjuster's conduct constitutes multiple violations of the Texas


      Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under this


      subsection are made actionable by TEX. INS. CODE§ 541.151.


  26. Defendant is liable for the unfair and deceptive acts of its assigned adjuster because he/she meets the


      definition of a "person" as defined by the Texas Insurance Code. The·tenn "person" is defined as "any


      individual, corporation, association, partnership, reciprocal or inter insurance exchange, Lloyds plan,


      fraternal benefit society, or other legal entity engaged in the business of insurance, including an agent;


      broker, a4justeror life and health insurance counselor." TEX. INS. CODE §541.002(2) (emphasis added);


      see also Liberty Mutual Ins. Co. v. Garrison Contractors, Inc. 966 S.W.2d 482, 484 (Tex. 1998) (holding




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      an insurance company employee to be a person for the purpose of bringing a cause of action against them


     under the Texas Insurance Code and subjecting them to individual liability),


                                                 NEGLIGENCE

  27. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing


     paragraphs.


  28. Plaintiff entrusted Defendant to properly adjust Plaintiff's insurance claim for the Property damage.


      Defendant did not properly adjust the claim and misinformed Plaintiff of the severity of the Property


      damage. Defendant had and owed a duty to ensure that the Property damage was properly adjusted.


      Nevertheless, Defendant failed to ensure that Plaintiffs damage was properly adjusted. This failure is a


      clear breach of Defendant's duty, and as a result, Plaintiff suffered significant injuries.


  29. Defendant Hartford Fire Insurance Company and its assigned adjuster had and owed a legal duty to


      Plaintiff to properly adjust all losses associated with the Property. Defendant, individually and through


      its assigned adjuster, breached this duty in a number of ways, including, but not limited to, the following:


                   A. Defendant, individually and through its assigned adjuster, was to exercise due care in


                        adjusting and paying policy proceeds regarding the Property;


                   B. Defendant, individually and through its assigned adjuster, had a duty to competently and


                        completely handle and pay all covered losses associated with the Property;


                   C. Defendant, individually and through its assigned adjuster, failed to properly complete all


                        adjusting activities associated with Plaintiffs damages; and,




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                    D. Defendant's acts, omissions, and/or breaches, individually and through its assigned


                       adjuster, did great damage to Plaintiff, and were a proximate cause of Plaintiffs damages.


                                         BREACH OF CONTRACT

  30. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

      paragraphs.


  31. Defendant Hartford Fire Insurance Company's conduct constitutes a breach of the insurance contract made


      between Defendant Hartford Fire Insurance Company and Plaintiff. According to the Policy, which


      Plaintiff purchased, Defendant Hartford Fire Insurance Company had the absolute duty to investigate


      Plaintiff's damages, and pay Plaintiff policy benefits for the claims made due to the extensive storm-


      related damages.


  32. As a result of the   stonn~related   event, Plaintiff suffered extreme weather related damages. Despite

      objective evidence of weather related damages provided by Plaintiff and its representatives, Defendant


      Hartford Fire Insurance Company breached its contractual obligations under the Policy by failing to pay


      Plaintiff cost related benefits to properly repair the Property, as well as for related losses associated with


      the subject loss event. As a result of this breach, Plaintiffhas suffered additional actual and consequential


      damages.


           VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

  33. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

      paragraphs.




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 34. Defendant and/or its assigned adjuster engaged in false, misleading, or deceptive acts or practices that


     constitute violations of the Texas Deceptive Trade Practices Act ("DTPA"), which is codified in the Texas


     Business and Commerce Code ("TEX. BUS. & COM. CODE"), including but not limited to:


                  A. Representing that an agreement confers or involves rights, remedies, or obligations which


                      it does not have or involve, or which are prohibited by law (TEX. BUS. & COM. CODE

                      § 17.46(b)(l2));


                  B. Misrepresenting the authority of a salesman, representative, or agent to negotiate the final


                      terms ofa consumer transaction(§ 17.46(b)(14));


                  C. Failing to disclose information concerning goods or services which were known at the


                      time of the transaction, and the failure to disclose such information was intended to


                      induce the consumer into a transaction into which the consumer would not have entered


                      had such information been disclosed(§ 17.46(b)(24));


                  D. Using or employing an act or practice in violation of the Texas Insurance Code (§


                      17.50(a)(4));


                  E. Unreasonably delaying the investigation, adjustment, settlement offer and prompt


                      resolution of Plaintiffs claim (TEX. INS. CODE§ 541.060(a)(2).(5));


                  F. Failure to properly investigate Plaintiffs claim(§ 541.060(7)); and/or


                  G. Hiring and relying upon a biased adjuster, in this case Defendant's assigned adjuster, to


                       obtain a favorable, results-oriented report, and to assist Defendant in severely




  Plaintiff Yoram Avneri 's Original Petition                                                           Page I 9
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                       underpaying and/or denying Plaintiffs damage claim (TEX. BUS. & COM. CODE §

                        17.46(31 )).


  35. As described in this Original Petition, Defendant Hartford Fire Insurance Company represented to Plaintiff

      that its Policy and Hartford Fire Insurance Company's adjusting and investigative services had

      characteristics or benefits that it actually did not have, which gives Plaintiff the right to recover proceeds.

      TEX. BUS. & COM. CODE§ 17.46(b)(5).

  36. As described in this Original Petition, Defendant Hartford Fire Insurance Company represented to Plaintiff

      that its Policy and Hartford Fire Insurance Company's adjusting and investigative services were of a

      particular standard, quality, or grade when they were of another, which stands in violation of § 17.46

      (b)(7).


  37. By Defendant Hartford Fire Insurance Company representing that they would pay the entire amount

      needed by Plaintiff to repair the damages caused by the weather related event and then not doing so,

      Defendant has violated§§ 17.46 (b)(5), (7), (12).

  38. Defendant Hartford Fire Insurance Company has breached .an express warranty that the damage caused

      by the storm-related event would be covered under Policy. This breach entitles Plaintiff to recover under

      §§ 17.46 (b) (12), (20); 17.50 (a)(2).

  39. Defendant Hartford Fire lnsurance Company's actions, as described herein, are unconscionable in that

      Defendant took advantage of Plaintiffs lack of knowledge, ability, and experience to a grossly unfair

      degree.   Therefore, Defendant's unconscionable conduct gives Plaintiff the right to relief under §

      l 7.50(a)(3).



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  40. Defendant Hartford Fire Insurance Company's conduct, acts, omissions, and failures, as described in this

      Original Petition, are unfair practices in the business of insurance and are in violation of§ 17.50 (a)(4).

  41. Plaintiff is a consumer, as defined under the DTP A, and relied upon these false, misleading, and/or

      deceptive acts and/or practices, made by Defendant Hartford Fire Insurance Company, to its detriment.

      As a direct and proximate result of Defendant's collective acts and conduct, Plaintiff has been damaged

      in an amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff now sues.

      All of the aforementioned acts, omissions, and failures of Defendant are a producing cause of Plaintiffs

      damages which are described in this Original Petition.

  42. Because Defendant's collective actions and conduct were committed knowingly and intentionally, in

      addition to all damages described herein, Plaintiff is entitled to recover mental anguish damages and

      additional penalty damages, in an amount not to exceed three times such actual damages. § 17.SO(b)(l).

  43. As a result of Defendant's unconscionable, misleading, and deceptive actions and conduct, Plaintiff has

      been forced to retain the legal services of the undersigned attorneys to protect and pursue these claims on

       its behalf. Accordingly, Plaintiff also seeks to recover its costs and reasonable and necessary attorney's

       fees as permitted under§ 17.SO(d), as well as any other such damages to which Plaintiff may show itself

       to be justly entitled by law and in equity.


                          VIOLATIONS OF THE TEXAS INSURANCE CODE

   44. Plaintiff hereby incorporates by reference all facts and circumstances set forth within the foregoing

       paragraphs.




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  45. Defendant and/or its assigned adjuster's actions constitute violations of the Texas Insurance Code ("TEX.


      INS. CODE"), Chapters 541and542, including but not limited to:


                  A. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the coverage

                       at issue (TEX. INS. CODE§ 541.060(a)(l));


                   B. Failing to attempt, in good faith, to effectuate a prompt, fair and equitable settlement of


                       a claim with respect to which the insurer's liability has become reasonably clear (§


                       541.060(a)(2)(A));


                   C. Failing to promptly provide to a policyholder a reasonable explanation of the basis in the


                       policy, in relation to the facts or applicable law, for the insurer's denial of a claim or for


                       the offer of a compromise settlement of a claim (§ 54 l.060(a)(3));


                   D. Failing to affirm or deny coverage of Plaintiffs claim within a reasonable time and


                       failing within a reasonable time to submit a reservation of rights letter to Plaintiff (§


                       541.060(a)(4));


                   E. Refusing, failing, or unreasonably delaying a settlement offer on the basis that other


                       coverage is available(§ 541,060 (a)(S));


                   F. Refusing, to pay a claim without conducting a reasonable investigation with respect to


                       the claim(§ 541.060(a)(7));


                   G. Forcing Plaintiffs to file suit to recover amounts due under the policy by refusing to pay


                       all benefits due(§ 542.003(b)(5));




  Plaintiff Yoram Avneri 's Original Petition                                                              Page j 12
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                  H. Misrepresenting an insurance policy by failing to disclose any matter required by law to


                       be disclosed, including a failure to make such disclosure in accordance with another


                       provision of this code(§ 541.061(5));


                  I.   Engaging in false, misleading, and deceptive acts or practices under the DTPA


                        (§541.151(2));


                  J.    Failing to acknowledge receipt of the claim, commence any investigation of the claim,


                        and request from the claimant all items, statements, and forms the insurer reasonably


                        believes at that time will be required from the claimant no later than the 15th day after


                        the receipt ofnotice of the claim(§ 542.055);


                  K. Failing to notify the claimant in writing of the acceptance or rejection of a claim no later

                        than the 15th business day after the insurer receives all items, statements, and forms


                       · required by the insurer to secure a final proof of loss (§ 542.056(a));


                  L. Failing to state the reasons for rejection(§ 542.056(c));


                  M. Failing to notify the claimant of the reasons that the insurer needs 45 days in additional


                        time to accept or reject the claim(§ 542.056(d));


                  N. Failing to pay a claim not later than the 5th business day after the date of notice of


                        acceptance was made (§ 542.057); and/or


                  0. Failing to pay a valid claim after receiving all reasonably requested and required items


                        from the insured. (§ 542.058(a)).




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  46. By its acts, omissions, failures and conduct, Defendant Hartford Fire Insurance Company has engaged in

      unfair and deceptive acts and practices in the business of insurance. Plaintiff, the insured and beneficiary,

      has a valid claim as a result of its detrimental reliance upon Defendant Hartford Fire Insurance Company's

      unfair or deceptive acts or practices.§ 541.151(2).

  47. Defendant's aforementioned conduct compelled Plaintiff to initiate this lawsuit to recover amounts due

      under the Policy, by offering substantially less than the amount ultimately recovered. Defendant refused

      to offer more than the grossly undervalued estimates prepared by Defendant Hartford Fire Insurance

      Company and/or Defendant's assigned adjuster, despite knowing the actual damages were much greater

      than what was offered. Defendant's continued refusal to offer compelled Plaintiff to file suit. § 542.003(5).

  48. Since a violation of the Texas Insurance Code is a direct violation of the DTPA, and because Defendant

      Hartford Fire Insurance Company's actions and conduct were committed knowingly and intentionally,

      Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish damages and

      additional penalty damages, in an amount not to exceed three times the amount of actual damages, for

      Defendant having knowingly, intentionally and/or negligently committed said actions and conduct. §


      541.152.

  49. As a result of Defendant Hartford Fire Insurance Company's unfair and deceptive actions and conduct,

      Plaintiff has been forced to retain the legal services of the undersigned attorneys to protect and pursue

      these claims on its behalf. Accordingly, Plaintiff also seeks to recover its costs and reasonable and

      necessary attorney's fees as pennitted under TEX. BUS. & COM. CODE§ 17.SO(d) or TEX. INS. CODE




  Plaintiff Yoram Avneri's Original Petition                                                             Page   j   14
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      § 541.152 and any other such damages to which Plaintiff may show itself justly entitled by Jaw and in

      equity.


                                BREACH OF THE COMMON LAW DUTY
                                  OF GOOD FAITH & FAIR DEALING

  50. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing paragraphs.


  51. From and after the time Plaintiffs claim was presented to Defendant Hartford Fire Insurance Company,


      the liability of Defendant to pay the full claim in accordance with the terms of the Policy was more than


      reasonably clear. However, Defendant has refused to pay Plaintiff in full, despite there being no basis


      whatsoever on which a reasonable insurance company would have relied on to deny full payment.


      Defendant's conduct constitutes a breach of the common law duty of good faith and fair dealing. See Viles


      v. Sc:curity National Ins. Co., 788 S.W.2d 556, 567 (Tex. 1990) (holding that an insurer has a duty to its

      insureds to "investigate claims thoroughly and in good faith" and an insurer can only deny a claim after a


      thorough investigation shows that there is a reasonable basis to deny that claim).


  52. For the breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory


      damages, including all forms ofloss resulting from Defendant's breach of the duty, such additional costs,


      economic hardship, losses due to nonpayment of the amount owed to Plaintiff, and/or exemplary damages


      for emotional distress.


                                                KNOWLEDGE

  53. Each of the acts described above, together and singularly, were done "knowingly" and "intentionally," as


      the terms are used in the Texas Insurance Code, and were a producing cause of Plaintiffs damages


      described herein.



  Plaintiff Yoram Avneri 's Original Petition                                                          Page   I 15
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                                                    DAMAGES

  54. Plaintiff will show that all of the aforementioned acts, taken together or singularly, constitute the


      producing causes of the damages sustained by Plaintiff.


  55. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff's bargain, which is the amount


      of Plaintiff's claim, together with attorney's fees.


  56. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff is entitled to


      actual damages, which include the loss of the benefit that should have been paid pursuant to the Policy,


      court costs and attorney's fees. For knowing conduct of the acts complained of, Plaintiff asks for three


       times Plaintiff's actual damages. TEX. INS. CODE § 541.152.


  57. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is entitled to the


      amount of Plaintiff's claim, interest on the claim at the rate of eighteen (18) percent per year, together


       with attorney's fees. § 542.060.


  58. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory


       damages, including all forms of loss resulting from the insurer's breach of duty, such as additional costs,


       economic hardship, losses due to nonpayment of the amount the insurer owed, and/or exemplary damages


       for emotional distress.


  59. For the prosecution and collection of this claim, Plaintiff has been compelled to engage the services of the


       law firm whose name is subscribed to this pleading. Therefore, Plaintiff is entitled to recover a sum for


       the reasonable and necessary services of Plaintiff's attorneys in the preparation and trial of this action,


       including any appeals to the Court of Appeals and/or the Supreme Court of Texas.




   Plaintiff Yoram Avneri 's Original Petition                                                             Page I 16
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  60. Defendant's acts have been the producing and/or proximate cause of damage to Plaintiff, and Plaintiff


      seeks an amount in excess of the minimum jurisdictional limits of this Court.


  6L More specifically, Plaintiff seeks monetary relief, including damages of any kind, penalties, costs,


      expenses, pre-judgment interest, and attorney's fees, in excess of $1, 000 ,000. 00.


                               ADDITIONAL DAMAGES & PENALTIES

  62. Defendant's conduct was committed knowingly and intentionally. Accordingly, Defendant is liable for


      additional damages under the DTPA, TEX. BUS. & COM. CODE§ 17.50(b)(l), as well as all operative


      provisions of the Texas Insurance Code. Plaintiff is clearly entitled to the 18% damages allowed under


      TEX. INS. CODE§ 542.060.


                                             ATTORNEY'S FEES

  63. In addition, Plaintiff is entitled to all reasonable and necessary attorney's fees pursuant to the Texas


      Insurance Code, DTPA, and TEX. CIV. PRAC. & REM. CODE§§ 38.001-.005.


                                           COMPEL MEDIATION

  64. Pursuant to TEX. INS. CODE§ 541.161 and TEX. BUS. & COM. CODE§ 17.5051, Plaintiff requests


      that Defendant be made to mediate no later than the 30th day of the signed order, following the 90th day


      after the date for which this pleading for relief is served upon Defendant.


                                                JURY DEMAND

  65. Plaintiff demands a jury trial, consisting of citizens residing in Parker County, Texas, and tenders the


      appropriate fee with this Original Petition.


                                                  DISCOVERY




  Plaintiff Yoram Avneri 's Original Petition                                                       Page I 17
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  66. Texas Rule of Civil Procedure 47 has been met in this petition. As such, Plaintiff requests that Defendant


      respond to the Requests for Disclosure, Requests for Production and IntetTogatories contained herein:


                                       I. REQUESTS FOR DISCLOSURE

      1.   Pursuant to the Texas Rules of Civil Procedure, Plaintiff request that Defendant Hartford Fire


           Insurance Company, disclose all information and/or material as required by Rule 194.2, paragraphs


           (a) through (1), and to do so within 50 days of this request.


                                       II. REQUESTS FOR PRODUCTION

      1. Please produce Hartford Fire Insurance Company's complete claim files from the home, regional and

           local offices, as well as third party adjusters/adjusting firms regarding the subject claim, including


           copies of the file jackets, "field" files and notes, and drafts of documents contained in the file for the


           premises relating to or arising out of Plaintiff's underlying claim.


      2.   Please produce the underwriting files referring or relating in any way to the policy at issue in this


           action, including the file folders in which the underwriting documents are kept and drafts of all


           documents in the file.


      3.   Please produce a certified copy of the insurance policy pertaining to the claim made subject of this


           lawsuit, including all underwriting files and insurance applications sent on behalf of Plaintiff in its


           attempt to secure insurance on the Property, which is the subject of this suit.


      4.   Please produce the electronic diary, including the electronic and paper notes made by Hatiford Fire


           Insurance Company's claims personnel, contractors, and third party adjusters/adjusting firms relating


           to the Plaintiff's claim.




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     5.   Please produce all emails and other forms of communication by and between all parties in this matter


          relating to the underlying event, claim or the Property, which is the subject of this suit.


     6.   Please produce the adjusting reports, estimates and appraisals prepared concerning Plaintiffs


          underlying claim.


     7.   Please produce the field notes, measurements and file maintained by the adjuster(s) and engineers


          who physically inspected the Property, which is the subject of this suit.


     8. Please produce the emails, instant messages and internal correspondence pertaining to Plaintiffs


          underlying claim.


     9.   Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff's home, regardless


          of whether Hartford Fire Insurance Company intends to offer these items into evidence at trial.


      10. Please produce all communications, correspondence, documents and emails between any and all


          assigned adjusters and/or agents and the Plaintiff, not limited to physical or audio recordings of all


          conversations between Plaintiff and any and all assigned adjusters and/or agents.


      11. Please produce all audio recordings or transcripts of conversations, calls, text, email or any other data


          sent to and from Plaintiff by any and all assigned adjusters and/or agents after their letter of


          representation sent by counsel.


      12. Please provide copies of all marketing material sent on behalf of Hartford Fire Insurance Company


          and/or its agents after the date ofloss of the Property, which is the subject of this suit.




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     13. Please provide all correspondence between Hartford Fire Insurance Company and its assigned


           adjuster, and all correspondence between Hartford Fire Insurance Company and its assigned agents,


           after the date ofloss of the Property, which is the subject of this suit.


                                          III. INTERROGATORIES

     l.    Please identify any person Hartford Fire Insurance Company expects to call to testify at the time of


           trial.


     2.    Please identify the persons involved in the investigation and handling of Plaintiff's claim for insurance


           benefits arising from damage relating to the underlying event, claim or the Property, which is the


           subject of this suit, and include a brief description of the involvement of each person identified, their


           employer, and the date(s) of such involvement.


     3.    IfHartford Fire Insurance Company or Hartford Fire Insurance Company's representatives performed


           any investigative steps in addition to what is reflected in the claims file, please generally describe


           those investigative steps conducted by Hartford Fire Insurance Company or any of Hartford Fire


           Insurance Company's representatives with respect to the facts surrounding the circumstances of the


           subject loss. Identify the persons involved in each step.


     4.    Please identify by date, author, and result the estimates, appraisals, engineering, mold and other


           reports generated as a result of Hartford Fire Insurance Company's investigation.


      5.   Please state the following concerning notice of claim and timing of payment:


           a.       The date and manner in which Hartford Fire Insurance Company received notice of the claim;




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           b.      The date and manner in which Hartford Fire Insurance Company acknowledged receipt of

  the claim;


           c.      The date and manner in which Hartford Fire Insurance Company commenced investigation


  of the claim;


           d.      The date and manner in which Hartford Fire Insurance Company requested from the claimant


                   all items, statements, and forms that Hartford Fire Insurance Company reasonably believed,


                   at the time, would be required from the claimant pursuant to the investigation; and


           e.      The date and manner in which Hartford Fire Insurance Company notified the claimant in


                   writing of the acceptance or rejection of the claim.


      6.   Please identify by date, amount and reason, the insurance proceeds payments made by Defendant, or


           on Defendant's behalf, to the Plaintiff.


      7.   Has Plaintiff's claim for insurance benefits been rejected or denied? If so, state the reasons for


           rejecting/denying the claim.


      8.   When was the date Hartford Fire Insurance Company anticipated litigation?


      9.   Have any documents (including those maintained electronically) relating to the investigation or


           handling of Plaintiff's claim for insurance benefits been destroyed or disposed of? If so, please


           identify what, when and why the document was destroyed, and describe Hartford Fire Insurance


           Company's document retention policy.


      10. Does Hartford Fire Insurance Company contend that the insured's premises were damaged by storm-


           related events and/or any excluded peril? If so, state the general factual basis for this contention.



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       11. Does Hartford Fire Insurance Company contend that any act or omission by the Plaintiff voided,


           nullified, waived or breached the insurance policy in any way? If so, state the general factual basis for


           this contention.


       12. Does Hartford Fire Insurance Company contend that the Plaintiff failed to satisfy any condition


           precedent or covenant of the Policy in any way? If so, state the general factual basis for this


           contention.


       13. How is the performance of the adjuster(s) involved in handling Plaintiff's claim evaluated? State


           what performance measures are used and describe Hartford Fire Insurance Company's bonus or


           incentive plan for adjusters.


                                                  CONCLUSION

   67. Plaintiff prays that judgment be entered against Defendant Hartford Fire Insurance Company and that


       Plaintiff be awarded all of its actual damages, consequential damages, prejudgment interest, additional


       statutory damages, post judgment interest, reasonable and necessary attorney's fees, court costs and for


       all such other relief, general or specific, in law or in equity, whether pied or un-pled within this Original


       Petition.


                                                     PRAYER
           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays it be awarded all such relief to which it


   is due as a result of the acts of Defendant Hartford Fire Insurance Company, and for all such other relief to


   which Plaintiff may be justly and rightfully entitled. In addition, Plaintiff requests the award of treble damages


   under the Texas Insurance Code, attorney's fees for the trial and any appeal of this lawsuit, for all costs of




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  Court on its behalf expended, for pre-judgment and post-judgment interest as allowed by law, and for any

  other and further relief, either at law or in equity, to which Plaintiff may show the itself to be justly entitled.

                                                        RESPECTFULLY SUBM!ITED,

                                                       ls/Derek L Fa.dner
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